                            UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF NORTH CAROLINA
                                  WESTERN DIVISION

THE PRUDENTIAL INSURANCE COMPANY                       )
OF AMERICA,                                            )
                                                       )
                               Plaintiff,              )
                                                       )       JUDGMENT IN A
v.                                                     )       CIVIL CASE
                                                       )       CASE NO. 5:19-CV-419-D
JESSICA STEWART and NICHOLAS A.                        )
STEWART,                                               )
                                                       )
                               Defendants.             )

Decision by Court. This action came before this Court for ruling as follows.


IT IS ORDERED, ADJUDGED, AND DECREED that on January 25, 2020 the court
GRANTED default judgment against Defendant Nicholas A. Stewart.
IT IS FURTHER ORDERED AND DECREED that the Death Benefits that were placed in the
Court Registry in this case be released to Jessica Stewart, mother of the deceased, M.S, a minor
under a group life insurance policy issued by Prudential to the Department of Veterans Affairs of
the United States, pursuant to the Servicemembers' Group Life Insurance statute, under Group
Policy Number G-32000.


This Judgment Filed and Entered on November 9, 2020, and Copies To:
Benjamin L. Worley                                     (via CM/ECF electronic notification)
Jessica Stewart                                        (Sent to 1136 Patrick Drive Fayetteville, NC
                                                       28314 via US Mail)



DATE:                                                  PETER A. MOORE, JR., CLERK
November 9, 2020                                               (By) /s/ Nicole Sellers
                                                               Deputy Clerk




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